4/8/2021          Case 1:21-cr-00117-RCL Document   168-23
                                             Yahoo Mail          Filed
                                                        - Fwd: Ryan      09/30/22 Page 1 of 1
                                                                    Nichols




     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Monday, April 5, 2021, 02:59 PM CDT



     From Renee Smith

     Sent from my iPhone

     Begin forwarded message:


           From: "Smith, Kathryn" <krsmith@lisd.org>
           Date: April 5, 2021 at 2:55:08 PM CDT
           To: dnichols3270@yahoo.com
           Subject: Ryan Nichols




           April 5, 2021

           To whom it may concern,

           Hello my name is Renee Nichols Smith, I am the Aunt of Ryan Nichols. I have known Ryan since Dec. 6,
           1990. The day he was born. Ryan loved to play with his brother Travis as a child and his two cousins (my
           daughters). When our parents were alive they had a really great time spending summers in the swimming
           pool. Ryan helped his Grandaddy do things around the house, he went fishing with him. After my parents
           passed it was a few years apart from just seeing Ryan.

           Since Ryan graduated from High school and went to the Marine Corp, he met his wife, had children and is
           a FAMILY man. He loves his family.

           He also went on rescue missions to help Hurricane victims & high water rescues.

           If I can help in any other way you are welcome to call 903-720-7203.

           --

           Renee Smith




                                                                                                                      1/1
